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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       NORTHERN DIVISION

 SECURITIES AND EXCHANGE COMMISSION,

                           Plaintiff,                             Case No.: 12-cv-15062

 v                                                                Honorable Thomas L. Ludington

 JOEL I. WILSON, et al,

                   Defendants.
 ______________________________________________________/

                  MOTION OF COURT-APPOINTED RECEIVER,
         RANDALL FRANK, TO PAY DISCOUNTED FEES OF LAMBERT LESER

         NOW COMES the Court Appointed Receiver in this matter, Randall L. Frank, and submits

 the following request to the Court:

         1.       The Receivership in this matter was initiated after the SEC filed its Complaint against the

 Defendants. The Defendants apparently had raised in excess of $6,700,000.00 from numerous individuals with

 the promise that those individuals would receive a return on their investments. The Defendants used at least

 some of the money to purchase approximately 74 properties located in Bay County, Michigan, and Saginaw

 County, Michigan. In simple terms, this case was commenced by the SEC because the Defendants had failed

 to provide the promised investments and returns to the various investors and, ultimately, Joel I. Wilson, the

 primary person involved in the scheme, was convicted.

         2.       I was appointed as a Receiver to take control of the properties located in Bay County, Michigan,

 and Saginaw County, Michigan, personal property assets and bank accounts. When I took control of the

 properties, the properties were in substantial disrepair, numerous properties were either vacant and/or the tenants

 were refusing to pay rent and/or land contract payments, real property taxes were delinquent and utilities were

 delinquent. Consequently, I needed immediate legal representation to assist in navigating the myriad of legal




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 issues and management issues involved in managing, taking control of, disposing of and rehabilitating these

 properties. To assist in that effort, I retained the law firm of Lambert Leser.

         3.       Lambert Leser is a law firm with offices in Bay City, Michigan and Troy, Michigan. Lambert

 Leser has substantial expertise in business matters, litigation, real estate matters, workouts, receiverships,

 restructures and bankruptcy matters. The expertise that Lambert Leser provided with regard to its real estate,

 business and restructuring was invaluable to my efforts in turning an estate with a negative cash flow and

 appeared to have an immediate potential of providing almost no recovery to an estate that allowed the claimants

 to receive payment of approximately 15% per allowed claim.

         4.       From the moment that I was appointed, immediate and competent legal representation was

 necessary. For instance, the estate consisted of approximately 74 properties. However, there was not a complete

 list of properties that were subject to the receivership estate. Therefore, one of the many initial tasks performed

 or assisted by Lambert Leser was research regarding the Defendants in this matter, entities that those Defendants

 may have created to hold properties, transfers of properties by one or more of the Defendants and/or related

 entities or persons and confirming titleholder status.

         5.       Lambert Leser also performed substantial review of the records that were located at the offices

 maintained by the Defendants to determine, among other things, what actions had been taken by the Defendants,

 who the employees and officers of the Defendants were, the status of the various parcels of property, including

 whether the parcels were leased and/or sold. In that regard, Lambert Leser reviewed real estate leases for the

 properties that were subject to leases and land contracts for the properties that were subject to land contracts,

 when such documents were available.

         6.       Lambert Leser assisted me in determining critical issues, prioritizing issues and assisting in

 resolution of the issues. As stated above, some of the issues included the failure and/or refusal of tenants to pay

 rent and/or land contract payments, resolution of delinquent property taxes and resolution of issues with tenants

 that refused to pay. These issues, and more, were all of a critical nature at the appointment of the Receiver and

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 during the early phases of this matter. The issues were dire because a substantial number of tenants were not

 paying rent and land contract vendees, were not paying in accordance with the applicable land contracts. The

 issues with cash flow were compounded by high vacancy rates, the poor condition of many of the homes, the

 lack of proper permitting with the Cities of Bay City and Saginaw where the rental properties were located and

 the continual accrual of utilities and taxes. The estate was at risk of essentially being liquidated at a mass auction,

 which I believe would have resulted in essentially no distribution to the claimants.

          7.       Through my efforts, the efforts of Lambert Leser and the property management team, the

 houses were improved, permits were obtained, tenants and/or land contract vendees that failed and/or refused to

 pay rent either started paying rent or were removed from the properties, real property taxes were paid and vacant

 homes available for lease were re-leased. The estate then started to receive income that supported paying the

 expenses of the estate which allowed for a gradual liquidation of the properties, achieving a much higher value

 for the claimants.

          8.       Lambert Leser was involved in negotiations with related parties to Joel Wilson and Sterne Agee

 which aided in the recovery of additional assets. For instance, the account at Sterne Agee contained $51,767.36

 and the estate was able to recover two properties transferred to insiders, without significant litigation, which

 yielded gross proceeds to the estate of $90,437.21.

          9.       Lambert Leser communicated with title companies and participated in the negotiation and

 drafting of purchase agreements and the preparation and review of closing documents for the sale of the homes.

 Lambert Leser also participated in the negotiation of deeds in lieu of foreclosure/forfeiture resulting in the

 recovery of property to the estate or the curing of deficiencies owed to the estate.

          10.      In the beginning phases of this matter, Lambert Leser drafted numerous landlord-tenant

 complaints seeking to either evict tenants that were not paying or compel tenants to begin paying rent. Lambert

 Leser appeared at hearings regarding those matters and responded to telephone calls with the various tenants

 and/or land contract vendees.

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          11.      While the estate had negative cash flow and inability to pay real estate taxes, it appeared that a

 bankruptcy filing may be necessary or prudent in order to wind up the affairs of the estate. In that regard, Lambert

 Leser provided substantial, invaluable advice regarding the bankruptcy process and procedure, the benefits and

 the negative attributes of a potential bankruptcy and filed paperwork with this Court seeking authority to file a

 bankruptcy if necessary. Ultimately, a bankruptcy filing was not necessary, but the counsel and advice was

 invaluable.

          12.      Lambert Leser devoted substantial time to answering my questions and providing guidance

 throughout this case, as well as meeting with investors, taking telephone calls from creditors and investors

 regarding status of matters, possible resolutions of the matters and claims.

          13.      Lambert Leser participated and negotiated in the sale of each property sold by the estate.

 Lambert Leser’s involvement included negotiation of the terms of the purchase agreements, revisions to the

 proposed purchase agreements, review of closing documents, review and negotiation of closing statements and

 filing the necessary motions with the Court to obtain approval of the sales and taking care of publication of the

 various notices required to sell a parcel or parcels of property.

          14.      Lambert Leser communicated with, consulted with and advised the property managers

 employed by the estate, regarding certain legal issues that arose during their property management, as well as

 questions Mr. Frank and Claimants had of the property managers and their fees.

          15.      Lambert Leser participated in numerous telephone calls with tenants and with land contract

 vendees in the negotiation of the payment of rent and land contract payments, the turnover of space and in some

 cases, threats of lawsuits by tenants and land contract vendees against the estate for alleged breaches of the terms

 of alleged oral and/or written agreements that pre-existed the appointment of the Receiver. For instance, many

 of the tenants and land contract vendees asserted that they were promised repairs or improvements to their

 properties and/or credits for repairs or improvements that they performed to the properties. For instance, one

 tenant asserted that a furnace did not exist on the property, or was broken, and that he would be given credit if

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 he replaced the furnace. That tenant replaced the furnace and then threatened to remove the furnace upon his

 departure. Substantial numbers of calls of this nature were handled by Lambert Leser.

         16.      Lambert Leser kept me apprised of its discussion with the tenants and the vendees, provided

 counsel to me regarding responses and recommended courses of action.

         17.      Lambert Leser billed at an hourly rate of $350.00 per hour during the entire term of this matter

 and did not raise its hourly rates to reflect current hourly rates. Further, in discussions with Lambert Leser early

 on in this matter, we discussed concerns regarding fees, the ability of the estate to pay such fees and the losses

 incurred by the investors. Lambert Leser indicated that it would not charge for each and every call between the

 Receiver and the attorney, nor would it charge for calls with investors on a general basis. Instead, Lambert Leser

 indicated it would charge only for a portion of said calls. As a result, I was able to discuss matters with counsel

 without great concern that the discussion would result in substantial fees. This enabled me to more efficiently

 perform my duties because I had the benefit of being able to discuss even minor matters without concern that I

 was increasing the administrative burden upon the estate.

         18.      It is estimated by the Receiver that Lambert Leser has supplied at least $450,000.00 in fees and

 services to the estate since 2013. I am seeking authorization to pay Lambert Leser $250,000.00 and transfer the

 land contract and estate’s interest in the remaining parcel of real property located at 1314 Hancock, Saginaw,

 Michigan. The current balance owing on the land contract is $24,000.00. The land contract requires monthly

 payments of principal and interest in the amount of $297.61. I believe a discounted value of the land contract of

 $14,400.00 is appropriate. I sent a letter to the claimants in this matter, offering to assign the land contract and

 estate’s interest in the property for the same price and none of the claimants expressed interest. Attempts to find

 a buyer for the land contract have also been unsuccessful. The payments and transfer of the estate’s interest in

 the property and land contract would be as complete and full payment of fees owed to Lambert Leser.

         19.      For the period of January 24, 2013, through November 30, 2019, the estate had

 gross receipts of $4,403.401.78 and disbursements of $3,843,338.12. See Summary of Cash

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 Receipts and Disbursements attached as Exhibit A. Approximately $2,289,000.00 was disbursed

 for property taxes, maintenance and repairs, management fees, insurance, fees, commissions and

 costs related to selling properties, inspections and appraisal fees, utilities and permits. $921,682.49

 has been distributed to investors. The estate, as of November 30, 2019, had $581,126.13 in cash.

          20.     A settlement with Lambert Leser would provide savings of approximately $185,000.00.

 Lambert Leser did not require payment from the estate during the pendency of this matter and has not received

 payment from the estate for its fees. Lambert Leser’s willingness to wait until the estate was ready to close also

 resulted in substantial benefit to the estate that should be recognized. If I had been required to pay Lambert Leser

 in the first two years of this estate, the result to the investors likely would have been substantially lower because

 substantial fees were incurred in the first two years of this matter due to all the investigations, review of

 documents, negotiations, etc. The relief that Lambert Leser provided enabled me to continue to rehabilitate the

 homes instead of being forced to liquidate in a time when the estate was generating a negative monthly operating

 income. Payment of fees to Lambert Leser during that time period would likely have been the matter that would

 have caused an auction or other quick liquidation of the assets.

          21.     I believe the fees are fair and reasonable, especially when viewed as a monthly fee. In essence,

 Lambert Leser charged the estate $3,150.00 per month for the extensive legal work and guidance it provided in

 this matter.

          22.     A review of the record in this case indicates that Lambert Leser attended and/or participated in

 19 court hearings in this Court, drafted 36 motions with accompanying briefs and/or proposed orders, analyzed

 claims and drafted a claims report, drafted the claims procedure forms, drafted two supplemental briefs, 2

 objections, 28 quarterly reports, more than 20 landlord-tenant complaints, 2 deed in lieu or foreclosure

 agreements, numerous items of correspondence, reviewed and revised purchase agreements selling the

 properties, drafted necessary closing documents on the sale of the properties, drafted various pieces of

 correspondence and memos to me. Further, obtaining the money from Sterne Agee without a setoff and

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 obtaining a transfer of the property from relatives of Mr. Wilson without substantial litigation provided revenue

 to the estate of $142,204.57.

          23.      I believe that Lambert Leser has performed its services on behalf of the estate and the Receiver

 in a competent, thorough, professional and effective manner.

          24.      The relief requested will allow me to make final distributions to the claimants and to close the

 receivership estate in the first quarter of 2020.

          25.      Prior to negotiating this agreement, I discussed this matter with counsel for the SEC and the

 SEC had no objection to the payment arrangement as requested herein. I anticipate that the SEC will support

 the request.

          WHEREFORE, for the reasons stated herein, the Receiver, Randall L. Frank, respectfully requests that

 this Honorable Court grant this Motion and allow me to pay Lambert Leser $250,000.00 and assign the estate’s

 interest in the property located at 1314 Hancock, Saginaw, Michigan, which is subject to a land contract, as full

 and final satisfaction of fees incurred by Lambert Leser.



 Dated: December 11, 2019                                         /s/ Randall L. Frank
                                                                  __________________________
                                                                  Randall L. Frank (P33189)
                                                                  U.S. District Court Receiver
                                                                  310 Davidson Building
                                                                  P.O. Box 2220
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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MICHIGAN
                                       NORTHERN DIVISION

 SECURITIES AND EXCHANGE COMMISSION,

                           Plaintiff,                             Case No.: 12-cv-15062

 v                                                                Honorable Thomas L. Ludington

 JOEL I. WILSON, et al,

                   Defendants.
 ______________________________________________________/


         BRIEF IN SUPPORT OF MOTION OF COURT-APPOINTED RECEIVER,
         RANDALL FRANK, TO PAY DISCOUNTED FEES OF LAMBERT LESER

         NOW COMES the Court Appointed Receiver in this matter, Randall L. Frank, and submits

 the following Brief in Support of his Motion of Court-Appointed Receiver, Randall Frank, To Pay

 Discounted Fees of Lambert Leser, and for his Brief states as follows:

         I rely upon the facts and requests stated in the Motion for the purposes of this Brief.

         WHEREFORE, for the reasons stated herein, the Receiver, Randall L. Frank, respectfully requests that

 this Honorable Court grant this Motion and allow me to pay Lambert Leser $250,000.00 and assign the estate’s

 interest in the property located at 1314 Hancock, Saginaw, Michigan, which is subject to a land contract, as full

 and final satisfaction of fees incurred by Lambert Leser.



 Dated: December 11, 2019                                         /s/ Randall L. Frank
                                                                  __________________________
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                         CERTIFICATE OF SERVICE

      The undersigned certifies that a copy of the foregoing instruments was served
 upon the attorneys of record of all parties to the above cause via e-service on
 December 11, 2019.
                                      /s/ Laurel J. Kenny
                                       Laurel J. Kenny




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